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                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
 vs.                                           )       CASE NO. 3:12-00219
                                               )       JUDGE SHARP
 COREY SMITH                                   )
                                               )


               MOTION FOR EXTENSION OF MOTIONS DEADLINE

        Comes now the defendant, COREY SMITH, by and through the undersigned

 attorney, pursuant to 18 U.S.C §§3161-3174, and moves this Honorable Court to enter an

 order extending the motions deadline to June 10, 2014. In support of the extension, the

 defendant states as follows:

        1. The Defendant is charged in a one count indictment alleging that he conspired

 with others to unlawfully possess with intent to distribute 5 kilograms or more of cocaine,

 in violation of Title 21, United States Code, Section 841(a)(1) and 846. (ECF Doc#32)

        2. On March 17, 2014, the Court appointed the undersigned counsel as co-

 counsel for Ms. Ritchie on this case based on the defendant’s request for new counsel.

 (Doc. #213). The Court initially reset the trial in this matter for May 6, 2014. On a

 subsequent motion to continue filed by the undersigned counsel, the Court continued the

 trial date for July 8, 2014 and ESset the motions deadline for 45 days prior to trial.

        3. Since being appointed, the undersigned counsel has met independently with

 the defendant usually on a weekly basis. The undersigned counsel has not yet met with

 the client and Ms. Ritchie together. Because of a personal obligation, Ms. Ritchie will

 not be able to jointly meet with the defendant until the first week of June 2014. It is




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